        Case 1:00-cr-05209-LJO Document 698 Filed 05/15/08 Page 1 of 2


                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Oliver W. Wanger
Senior United States District Judge
Fresno, California

                                         RE:   JORGE SILVA
                                               Docket Number: 1:00CR05209-07 OWW
                                               PERMISSION TO TRAVEL
                                               OUTSIDE THE COUNTRY

Your Honor:


The offender is requesting permission to travel to Cancun, Mexico. He is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On April 2, 2002, he was sentenced for the offense(s)
of Distribution of Methamphetamine and Aiding and Abetting.


Sentence imposed: 41 months Bureau of Prisons, 60 months supervised release and
$100 special assessment.


Dates and Mode of Travel: The offender requests permission to travel from May 23, 2008
through May 30, 2008.


Purpose: The offender requests to travel to Cancun, Mexico, to celebrate his anniversary.




                                                                                                         R ev. 05/2006
                                           1            T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
         Case 1:00-cr-05209-LJO Document 698 Filed 05/15/08 Page 2 of 2


RE:   JORGE SILVA
      Docket Number: 1:00CR05209-07 OWW
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                                  Respectfully Submitted,

                                   /s/ Brian J. Bedrosian

                               BRIAN J. BEDROSIAN
                           United States Probation Officer

DATED:       May 9, 2008
             Fresno, California
             BB


REVIEWED BY:        /s/ Bruce A. Vasquez
                    BRUCE A. VASQUEZ
                    Supervising United States Probation Officer



ORDER OF THE COURT:

Approved        X                                Disapproved


IT IS SO ORDERED.

Dated: May 14, 2008                           /s/ Oliver W. Wanger
emm0d6                                   UNITED STATES DISTRICT JUDGE




                                                                                                             R ev. 05/2006
                                             2              T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
